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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

19-CR-6140FPG
UNITED STATES OF AMERICA,
INFORMATION
V. (Felony)

PATRICK W. CARLINEO, JR., Violations:
18 U.S.C. § 115(a)(1)(B);
18 U.S.C. § 922(g)(1)
Defendant.
(2 Counts and Forfeiture
Allegation)

 

COUNT 1
(Threatening United States Official)
The United States Attorney Charges That:

On or about March 21, 2019, in the Western District of New York, and elsewhere, the
defendant, PATRICK W. CARLINEO, JR., did threaten to assault and murder United
States Congresswoman Ilhan Omar, a United States official, with intent to impede,
intimidate, and interfere with Congresswoman Omar while she was engaged in the
performance of her official duties, and with intent to retaliate against Congresswoman Omar
on account of the performance of her official duties.

All in violation of Title 18, United States Code, Sections 115(a)(1)(B) and 115(b)(4).

COUNT 2
(Felon in Possession of Firearms)
The United States Attorney Further Charges That:
On or about April 5, 2019, in the Western District of New York, the defendant,

PATRICK W. CARLINEO, JR., knowing that he had previously been convicted on or
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about September 3, 1998, in County Court, Steuben County, New York, of a crime
punishable by imprisonment for a term exceeding one year, unlawfully did knowingly
possess, in and affecting commerce, firearms, namely, one (1) Llama-Gabilondo y Cia, Model
Max-l, .45 caliber semi-automatic pistol, bearing serial number 13456-95; one (1) Tristar,
Model Cobra, 12 gauge pump-action shotgun, bearing serial number H9A01913; one (1)
Savage, Model Axis, .308 caliber bolt-action rifle, bearing serial number H921203; one (1)
Rossi, Model M2022, 20 gauge break-barrel shotgun, bearing serial number SP481856; one
(1) Winchester, Model 190, .22 caliber semi-automatic mfle, bearing serial number B1601774;
and one (1) SKS-style, 7.62x39mm semi-automatic rifle, bearing serial number 24044013,
from an unknown manufacturer.

All in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

FORFEITURE ALLEGATION
The United States Attorney Alleges That:

Upon conviction of either of the offenses alleged in this Information, the defendant,
PATRICK W. CARLINEO, JR.., shall forfeit to the United States, all of his right, title, and
interest in any firearms and ammunition involved or used in the commission of the offense,
or found in the possession or under the immediate control of the defendant at the time of

arrest including, but not limited to:

a. one (1) Llama-Gabilondo y Cia, Model Max-1, .45 caliber semi-
automatic pistol, bearing serial number 13456-95;

b. one (1) Tristar, Model Cobra, 12 gauge pump-action shotgun, bearing
serial number H9A01913;

Cc. one (1) Savage, Model Axis, .308 caliber bolt-action rifle, bearing serial
number H921203;

d. one (1) Rossi, Model M2022, 20 gauge break-barrel shotgun, bearing
serial number SP481856;

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e. one (1) Winchester, Model 190, .22 caliber semi-automatic rifle, bearing
serial number B1601774;
f. one (1) SKS-style, 7.62x39mm semi-automatic rifle, bearing serial

number 24044013, from an unknown manufacturer;
Various ammunition, including but not limited to:
g. nine (9) 12 gauge shotgun shells (Remington);

h. twenty four (24) 20 gauge shotgun shells;

i. eight (8) rounds of TulAmmo ammunition;

j. two (2) rounds of .45 auto caliber ammunition (CTT);

k. one (1) round of .306 caliber ammunition (Winchester);

1. nineteen (19) rounds of .308 caliber ammunition (Winchester);
m. one (1) round of .22L caliber ammunition (Winchester);

n. one (1) round of 7.62x39mm caliber ammunition;

O. two (2) rounds of .22 short caliber ammunition;

p. four (4) rounds of .308 caliber ammunition (FC Winchester);

q. thirty nine (39) rounds of .22 caliber ammunition (Aguila);

r. one hundred and fifty (150) rounds of .22 long caliber ammunition
(Lellier & Bellot);

S. forty (40) rounds of Brown Bear ammunition;

t. sixty (60) rounds of 7.62x39mm caliber ammunition (JSC);

u. fifty (SO) rounds of .22 caliber ammunition (Federal);

v. fifty (50) rounds of .22 caliber ammunition (Remington);

w. fifty (50) rounds of .22 caliber ammunition (Aguila Golden Eagle);
X. fifty (50) rounds of .22 LR caliber ammunition (American);

y. two hundred (200) rounds of .22 LR caliber ammunition (Winchester);

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Z.

da.

bb.

cc:

dd.

cc.

88.

i.

kk.

one hundred and fifty (1500 rounds of .22 LR caliber ammunition
(Blazer);

fifty (50) rounds of .22 LR caliber ammunition (CC1);

forty (40) rounds of 7.62x39mm caliber ammunition (Metak);
seven (7) rounds of .45 auto caliber ammunition (RP);

one hundred (100) rounds of Winchester 45C ammunition;
ten (10) 20 gauge shot gun shells (Remington);

one hundred and forty (140) rounds of 7.62x39mm caliber ammunition
(TulAmmo);

thirty (30) 12 gauge shotgun shells (Winchester Super X);
seven (7) Winchester shotgun shells;

thirty seven (37) rounds of Speer Lawman ammunition;
six (6) rounds of .45 Auto caliber ammunition (Speer); and

twenty (20) rounds of .308 caliber ammunition (Fusion).

All pursuant to the provisions of Title 18, United States Code, Sections 924(d) and

3665, and Title 28, United States Code, Section 2461(c).

DATED: Rochester, New York, November 18, 2019.

JAMES P. KENNEDY, JR.
United States Attorney

By: _ buf a WY

BRETT A. HARVEY

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